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   IT IS ORDERED as set forth below:



   Date: November 5, 2020
                                                          _________________________________

                                                                     Sage M. Sigler
                                                              U.S. Bankruptcy Court Judge

  ________________________________________________________________



                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

 IN RE:                                       §      CHAPTER 7
                                              §
 AMERICAN UNDERWRITING                        §      Case No. 18-58406-SMS
 SERVICES, LLC,                               §
                                              §
        Debtor.                               §

           CONSENT ORDER RESOLVING REQUEST FOR ALLOWANCE AND
          PAYMENT OF ADMINISTRATIVE EXPENSE CLAIM PURSUANT TO 11
                U.S.C. § 503 THAT WAS FILED BY THE AIG ENTITIES

        This matter came before the Court on the: 1) Request for Allowance and Payment of

 Administrative Expense Claim Pursuant to 11 U.S.C. § 503 [Doc. No. 179] (the “AIG Claim”)

 that was filed by Granite State Insurance Company, Illinois National Company, New Hampshire

 Insurance Company, The Insurance Company of the State of Pennsylvania, and certain other

 entities related to AIG Property Casualty Inc. (collectively, the “AIG Entities”); 2) Objection by

 Trustee to the Administrative Expense Claim Asserted by the AIG Entities (the “Objection”)

 [Doc. No. 223] (the “Objection”) that was filed by S. Gregory Hays, as Chapter 7 Trustee (the
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 “Trustee”) for the bankruptcy estate (the “Estate”) of American Underwriting Services, LLC,

 Debtor (the “Debtor”) in the above captioned case (the “Bankruptcy Case”), to object to the

 allowance of the AIG Claim as an administrative expense claim; and 3) the Response to

 Objection by Trustee to Administrative Expense Claim Filed by AIG Entities that was filed by the

 AIG Entities [Doc. No. 225] (the “AIG Response”). It appearing that: 1) the Court has

 jurisdiction over this matter; 2) the AIG Entities and the Trustee have consented to the relief set

 forth herein as evidenced by the signatures of their counsel below below; 3) no further notice or

 opportunity for a hearing is necessary; 4) there is no basis to treat a portion of the AIG Claim as

 an outstanding administrative expense in the Bankruptcy Case; and 5) good and sufficient cause

 exist for the relief granted herein, it is hereby ORDERED, ADJUDGED and DECREED that:

        1.      The Objection is sustained as set forth herein.

        2.      The AIG Claim is REDUCED and ALLOWED as a Chapter 11 administrative

 expense in the Bankruptcy Case in the amount of Forty-Two Thousand and Five Hundred Eighty

 and 91/100 Dollars ($42,580.91).

        3.      Other than the allowed chapter 11 administrative expense claim in the amount of

 Forty-Two Thousand and Five Hundred Eighty and 91/100 Dollars ($42,580.91), the AIG

 Entities shall have no other claim(s) entitled to receive a distribution as an administrative

 expense in the Bankruptcy Case or otherwise against the Debtor, the Estate, or the Trustee.

        4.      The Court shall retain jurisdiction to hear and determine all matters arising from

 the implementation of this Order.

                                      ***END OF ORDER***
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 Prepared, Presented, and Consented to by:

        LAW OFFICES OF HENRY F. SEWELL JR., LLC

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        Counsel for the Chapter 7 Trustee

 Agreed and Consented to by:

        NELSON MULLINS RILEY & SCARBOROUGH LLP

        By:    /s/ Gregory M. Taube
               Gregory M. Taube
               Georgia Bar No. 699166

               Attorneys for Granite State Insurance Company, Illinois National Company, New
               Hampshire Insurance Company, The Insurance Company of the State of
               Pennsylvania, and certain other entities related to AIG Property Casualty Inc.

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